Case: 1:24-cv-00138 Document #: 1-1 Filed: 01/05/24 Page 1 of 5 PageID #:24




                EXHIBIT 1
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